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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION
In re:

RICHARD TERRY BOURNE                                         CASE NO. 19-bk-00133-KSJ
PATRICIA SHAFFER BOURNE                                      CHAPTER 7

                  Debtors.
_______________________________/

                    CONSENT TO MOTION TO SELL REAL PROPERTY
               AND PAY SECURED CREDITORS AND TRANSACTIONAL COSTS

          Specialized Loan Servicing LLC as servicing agent for The Bank of New York Mellon

FKA The Bank of New York, as Trustee for the certificateholdes of the CWABS, Inc., Asset-

Backed Certificates, Series 2007-1 (“SLS”) files its Consent to Motion to Sell Real Property and

Pay Secured Creditors and Transactional Costs (Doc. No. 26) (“Motion”) and states:

          1.     SLS holds a valid note and mortgage on the property located at 1031 Roanoke Court

NE, Palm Bay, Florida 32907.

          2.     SLS has no objection to the sale of the property, so long as the requirements set

forth in the SLS Short Sale Approval Agreement attached to the Motion are met.

          WHEREFORE, SLS, respectfully requests the Court enter an order allowing the sale to

go forward so long as the requirements set forth in the SLS Short Sale Approval Agreement

attached to the Motion are met and granting such other relief that the Court may deem just and

proper.

                                                             /s/ Gavin N. Stewart
                                                             Gavin N. Stewart, Esquire
                                                             Florida Bar Number 52899
                                                             P.O. Box 5703
                                                             Clearwater, FL 33758
                                                             P: (727) 565-2653
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                                                             Counsel for Creditor
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                                     CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing was served by CM/ECF notice

   and first-class mail this 16th day of July, 2019.

                                                              /s/ Gavin N. Stewart
                                                              Gavin N. Stewart, Esquire

VIA FIRST CLASS MAIL
Patricia Shaffer Bourne
Richard Terry Bourne
1031 Roanoke Court NE
Palm Bay, FL 32907

VIA CM/ECF NOTICE
Melissa E. Peat
Coastal Legal Team, PLLC
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